Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 1 of 6
Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 2 of 6
Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 3 of 6
Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 4 of 6
Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 5 of 6
Case 1:13-cr-00136-DAD-BAM Document 402 Filed 09/29/15 Page 6 of 6
